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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    SUSMAN GODFREY LLP,

                                        Plaintiff,

              v.                                         Civil Action No. 25-cv-1107-LLA


    EXECUTIVE OFFICE OF THE
    PRESIDENT, et al.,


                                     Defendants.



    UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE 775 LAW
       PROFESSORS IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
     JUDGMENT AND DECLARATORY AND PERMANENT INJUNCTIVE RELIEF

        Amici curiae professors of law respectfully move for leave to file the attached proposed

brief in support of Plaintiff Susman Godfrey’s motion for summary judgment and declaratory and

permanent injunctive relief in the above-captioned case. ECF No. 51. Counsel for Plaintiff has

consented to the filing of amici’s brief and counsel for the Government has indicated it does not

object to its filing. In support of this motion, amici state:

        Amici are 775 law professors who study, write, and teach at law schools throughout the

United States.1 They are experts in constitutional law, legal ethics, and the history of the legal

profession, among other fields. Amici have a significant interest in ensuring that the principles of

free speech, freedom of association, the right to petition the government, and the right to counsel



1
 A full list of amici is provided in Appendix A. Amici’s institutional affiliations are provided for
purposes of identification only and do not reflect the views of the listed institutions.
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are upheld. They also have a strong interest in upholding the rule of law and the ethics of the legal

profession as legal educators who are responsible for training the next generation of lawyers. Many

of the amici also recently filed similar briefs in Perkins Coie LLP v. U.S. Department of Justice,

et al., Case No. 1:25-cv-00716-BAH (D.D.C); Jenner & Block v U.S. Department of Justice, et

al., Case No. 1:25-cv-00916-JDB (D.D.C.); and Wilmer Cutler Pickering Hale & Dorr v. U.S.

Department of Justice, et al., Case No. 1:25-cv-00917-RJL (D.D.C.). Amici submit their brief to

emphasize the threat that the President’s Executive Order (the “Order”)2 presents to the

independence and integrity of the legal profession, the rights of clients to seek redress in the courts,

and, by extension, the rule of law.

       This Court has “wide discretion in deciding whether to grant a third party leave to file an

amicus curiae brief.” In re Search of Info. Associated with [redacted]@mac.com that is Stored at

Premises Controlled by Apple, 13 F. Supp. 3d 157, 167 (D.D.C. 2014); Nat’l Ass’n of Home

Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007) (same). Courts in

this district have exercised their “broad discretion” to allow amicus participation by amici with

“relevant expertise and a stated concern for the issues at stake” where a court finds that “it may

benefit from their input” in deciding the case. District of Columbia v. Potomac Elec. Power Co.,

826 F. Supp. 2d 227, 237 (D.D.C. 2011); see also, Nat’l Ass’n of Home Builders, 519 F. Supp. 2d

at 93 (granting leave to file because “the court may benefit from [amicus] input”). An amicus

“‘participates only for the benefit of the Court,’” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131,

136 (D.D.C. 2008) (quoting United States v. Microsoft Corp., 2002 WL 319366, at *2 (D.D.C.



2
  Throughout this motion, “Executive Order” or “Order” refers to Executive Order. No. 14263,
codified at 90 Fed. Reg. 15,615 (April 9, 2025) titled “Addressing Risks from Susman Godfrey,”
as well as the accompanying Fact Sheet titled “Fact Sheet: President Donald J. Trump Addresses
Risks from Susman Godfrey” of the same date.


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2002)). Amicus participation “should be permitted if it will assist the judge ‘by presenting ideas,

arguments, theories, insights, facts or data that are not to be found in the parties’ briefs.’” Mashpee

Wampanoag Tribe, 2020 WL 2615523 at *1 (D.D.C. May 22, 2020) (quoting Voices for Choices

v. Ill. Bell Tel. Co., 339 F.3d 542, 545 (7th Cir. 2003)); see also In re Search of Info., 13 F. Supp.

3d at 167 (D.D.C. 2014) (same).

       Local Civ. Rule 7(o)(2) requires potential amici to set forth the reasons why an amicus

brief “is desirable, why the movant’s position is not adequately represented by a party, and why

the matters asserted are relevant to the disposition of the case.” D.D.C. LR 7(o)(2). It directs that

motions for leave to file must be filed “in a timely manner such that it does not unduly delay the

Court’s ability to rule on any pending matter.” D.D.C. LR 7(o)(2). The proposed amicus brief

satisfies these standards and the requirements.

       The brief is relevant to the disposition of this case: The proposed brief directly addresses

the key issues that are raised in this litigation and that are relevant to its disposition. The brief

details how the Order violates the First Amendment, including because the Order singles out

Susman Godfrey and discriminates against it on the basis of its clients’ viewpoints, because it

unconstitutionally controls the speech and associational freedoms of lawyers engaged in legal

work against the government, because it imposes unconstitutional conditions on the firm’s access

to government funding and property, and because it violates the Petition Clause. The brief then

analyzes the Order’s violation of the Fifth and Sixth Amendments, explaining that it interferes

with clients’ access to counsel and their right to select a lawyer free of government intervention

and conflicting loyalties. It traces the historical origins of the American right to counsel of choice

and explains how that right would be undermined if the Executive branch of the government could

control who represents—and who doesn’t represent—its adversaries in court. Finally, the brief




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highlights why the harm from the Order goes beyond the specific constitutional violations

described and poses a broader threat to legal profession and the rule of law.

       The brief is desirable and provides amici’s unique perspectives and input that will

benefit the Court: Amici write from the perspective of expert legal scholars and educators

specializing in constitutional law, legal ethics, the history of the legal profession, among other

fields. Grounded in amici’s substantial expertise, the proposed brief offers a scholarly analysis of

the myriad ways in which the Order violates the Constitution. And, as amici include scholars of

the legal profession, amici provide a comprehensive evaluation of the grave threat that the Order

poses to lawyers and law firms across the nation. Indeed, while Plaintiff Susman Godfrey’s

primary interest is likely in protecting its own interest and those of its clients, amici’s brief will

assist the Court by highlighting the need to safeguard the right of all clients to secure the counsel

of their choice, and the right of all lawyers and law firms to represent their clients free from

unlawful governmental interference.

       Amici’s scholarly viewpoint provides unique insights into the threat the Order poses to the

integrity of the judicial process and the serious harm that will result if the President is permitted to

continue to threaten and punish lawyers for zealously representing their clients in court.

Ultimately, amici offer a beneficial and unique perspective into the manner by which the Order

will compromise the American legal system and undermine the rule of law.

       The proposed brief is timely. It is being submitted with this motion less than one day after

Plaintiff’s opening brief that it supports. This timing will not affect the Defendants’ ability to

respond to or the Court’s ability to timely rule on the Plaintiff’s motion.

       For the foregoing reasons, amici respectfully request that the Court grant leave to file the

attached amicus curiae brief.



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       A proposed order is attached to this motion.

Dated: April 23, 2025                Respectfully submitted,

                                            /s/ Phillip R. Malone
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                                            Telephone: (650) 725-6369
                                            Fax: (650)-723-4426

                                               Counsel for Amici Curiae




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2025, I electronically filed the original of this Motion, its

accompanying appendix, and its attached proposed brief with the Clerk of the Court using the CM/ECF

system. Notice of this filing will be sent to all attorneys of record by operation of the Court’s

electronic filing system.

       DATED this 23rd day of April 2025.

                                              /s/ Phillip R. Malone
                                                  Phillip R. Malone




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                                         APPENDIX A

                      LIST OF AMICI CURIAE LAW PROFESSORS

 Institutional affiliations are provided for purposes of identification only and do not reflect the
                                   views of the listed institutions.

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Kathryn Abrams                                       University of Pittsburgh School of Law
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                                                     University of Illinois College of Law
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                                                                  University of Pittsburgh School of Law
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Case Western Reserve University School of                         Professor of Law
Law                                                               University of Baltimore School of Law

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                                                                  Michael C. Dorf
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Loyola University Chicago School of Law
                                                                  David R. Dow
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Christine Farley                                                  Omeed Firouzi
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Georgetown University Law Center                                  Timothy S Fisher
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                                                                  Victor B. Flatt
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University of New Hampshire Franklin                              Case Western Reserve University School of
Pierce School of Law                                              Law

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Robert W. Woodruff Professor of Law                               Roger Allan Ford
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Claire Finkelstein                                                Law
Algernon Biddle Professor of Law and
Professor of Philosophy                                           Andrew Foster
University of Pennsylvania                                        Clinical Professor of Law
                                                                  Duke Law School



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Sarah Gerwig                                                      Steve C. Gold
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                                                                  Rutgers Law School
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Distinguished Professor and John F.                               Suzanne B. Goldberg
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                                                                  Columbia Law School
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Crandall Melvin Professor of Law                                  Robert Goldman
Syracuse University College of Law                                Professor of Law & Louis C. James Scholar
                                                                  American University Washington College of
James Gibson                                                      Law
Sesquicentennial Professor of Law
University of Richmond School of Law                              Eric Goldman
                                                                  Professor of Law
Kelly Gillespie                                                   Santa Clara University School of Law
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Saint Louis University School of Law                              Julie Goldscheid
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Leigh Goodmark                                                    I. Michael Greenberger
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                                                                  Professor of Law
Abner S. Greene                                                   DePaul University College of Law
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Aziz Huq                                                          Dawn Johnsen
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                                                                  Excellence
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                                                                  Distinguished University Professor
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University of Richmond School of Law                              Michael Klarman
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Mark Kelman                                                       History
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                                                                  Hugh Macgill Professor of Law
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Jaime Lee                                                         Elon University School of Law
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                                                                  Law
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                                                                  Georgetown Law School
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Albany Law School
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                                                                  Dean and Harold H. Greene Professor of
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University of Pennsylvania Carey Law
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                                                                  NFVLC Professor of Clinical Law
Brett McDonnell                                                   The George Washington University Law
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                                                                  Tara Melish
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                                                                  Michelle Mello
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                                                                  and Medicine
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